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 6                             UNITED STATES DISTRICT COURT
 7
                             IN AND FOR THE DISTRICT OF NEVADA
 8
      UNITED STATES OF AMERICA,        )
 9                                     )
                      Plaintiff,       )
10                                     )             Case No.:      2:12-cr-00463-JCM-VCF
11    vs.                              )
                                       )             STIPULATION TO CONTINUE
12    DENISE WILLIAMS,                 )             COMPETENCY HEARING
                                       )
13                                     )
14                    Defendant.       )
      ________________________________ )
15
            IT IS HEREBY ORDERED that the competency hearing currently scheduled for
16
      December 22, 2014, at the hour of 10:00 a.m., be vacated and continued to
17
      January 9, 2015 at the hour of 11:00 a.m., in courtroom 3D.
18
19          DATED this 12th day of December, 2014.

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                                                     ________________________________
22                                                   UNITED STATES MAGISTRATE JUDGE
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